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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN




  Cholyanda Brown, et al.,

                                     Plaintiff(s),
  v.                                                     Case No. 5:16−cv−10444−JEL−MKM
                                                         Hon. Judith E. Levy
  Veolia Water North America
  Operating Services, LLC, et al.,

                                     Defendant(s),



                                        NOTICE TO APPEAR

     You are hereby notified to appear before District Judge Judith E. Levy at the United States
  District Court, Federal Building, 200 East Liberty Street, Ann Arbor, Michigan, for the following
  proceeding(s):

        • STATUS CONFERENCE: May 15, 2019 at 02:00 PM



                                        Certificate of Service

     I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
  record were served.

                                                 By: s/S Burns
                                                     Case Manager

  Dated: March 18, 2019
